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                  EXHIBIT 1
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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ART AKIANE LLC,                                       Case No. 19-cv-02952
           Plaintiff,
                                                       Judge Edmond E. Chang
 v.
                                                       Mag. Judge Jeffrey Cole
 ART & SOULWORKS LLC, and
 CAROL CORNELIUSON,
           Defendants.

       SUPPLEMENTAL DECLARATION OF RACHEL A. SMOOT IN SUPPORT OF
      PLAINTIFF ART AKIANE LLC’S MOTION FOR PRELIMINARY INJUNCTION

        I, Rachel A. Smoot, declare:

        1.     I am counsel for Plaintiff Art Akiane LLC (“Art Akiane”), and Counter-Defendants

Akiane Art Gallery, LLC, and Akiane Kramarik in this matter and am admitted pro hac vice. I am

an associate at Taft Stettinius & Hollister LLP. I have personal knowledge of the facts stated

herein, and if called as a witness, would be able to testify competently to such facts.

        2.     On October 7, 2019, Plaintiff filed a motion for preliminary injunction to enjoin

Defendants Art & Soulworks LLC and Carolyne Corneliuson (“Defendants”) from, inter alia:

               copying, displaying or distributing digital images of Art Akiane’s
               copyrighted works, and modifying, creating derivative works or
               reproducing such materials on its webpages or social media
               accounts; . . . [f]rom copying displaying, making derivative works
               of or distributing videos of Akiane’s Works; . . . and [f]rom
               marketing, holding themselves out as, or representing that they are
               the origin of, affiliated with, or endorsed or approved by Art Akiane
               or its works.

(Dkt. 65 at 1-2.)

        3.     Briefing for the preliminary injunction concluded on December 23, 2019. (Dkt. 86.)

        4.     After the briefing ended: (1) Art Akiane’s copyrighted works (“Works”) are still

being distributed and displayed from Defendants’ social media, and (2) actual consumer confusion
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continued, as shown in Exhibits A & B.

          5.    Attached hereto as Exhibit A are true and correct examples captured between July

6, 2020 and July 9, 2020 from Defendants’ Facebook page of Art Akiane’s Works (as modified

by Defendants) being displayed and distributed after briefing for the preliminary injunction

concluded. These examples show recent distributions, comments, and displays of Akiane’s Works.

For efficiency, the post-briefing activity is notated by circles by undersigned counsel.1

          6.    Exhibit A further shows actual and continued consumer confusion over the

affiliation of Defendants’ Facebook page and posts with Akiane Kramarik.2 For instance, several

comments show consumers mistakenly believe that the Works, and other posts not containing the

Works, were posted by or have an affiliation with Akiane Kramarik, as the comments are directed

to Akiane Kramarik herself as if she were operating and controlling Defendants’ Facebook page.

          7.    Consumers stated: “Such a talented artist! Hope you are well and that you are safe!

Blessings to you and your family and thank you for your testimony and for sharing your talent

with us . . . may he always lead and guide you ever step of your life! Love you Akiane!” (Ex. A

at 2); “Akiane – you will have to start painting more Jesus paintings to represent scripture like

this” (id. at 6); “Love your paintings and the words of God that you shared” (id. at 8) (emphasis

added).

          8.    Attached hereto as Exhibit B is a true and correct copy of a July 7, 2020 email

received from a customer of Art Akiane. The customer in Exhibit B expressed actual confusion if



1
  Exhibit A comprises only a small sample of examples of post-briefing distributions, and Art Akiane is
willing to provide numerous additional examples if the Court wishes.
2
  Int’l. Kennel Club of Chi., Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1090 (7th Cir. 1988) (finding even a
few instances of actual confusion may be considered highly probative of a likelihood of confusion);
Meridian Mut. Ins. Co. v. Meridian Ins. Grp., Inc., 128 F.3d 1118, 1119 (7th Cir. 1997) (“[W]hile very
little proof of actual confusion would be necessary to prove the likelihood of confusion, an almost
overwhelming amount of proof would be necessary to refute such proof.”) (citation omitted).
                                                     2
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Defendants and their webpage were the official distributors of Art Akiane’s Works.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




Dated: July 10, 2020
                                 By: s/Rachel A. Smoot
                                     Rachel A. Smoot (pro hac vice)
                                     TAFT STETTINIUS & HOLLISTER LLP
                                     65 East State Street, Suite 1000
                                     Columbus, Ohio 43215
                                     Phone: (614) 221-2838
                                     Fax: (614) 221-2007
                                     rsmoot@taftlaw.com

                                    Counsel for Plaintiff and Counter-
                                    Defendants




                                               3
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2020, the foregoing was filed with the Clerk of Court via

CM/ECF, which provided notice of same to all parties who have made an appearance in this case.


                                                    /s/Rachel A. Smoot




                                                4
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      EXHIBIT A
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       EXHIBIT B
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     Smoot, Rachel A.

     From:                                       Joel Worsfold <jworsfold@carsonwealth.com>
     Sent:                                       Tuesday, July 7, 2020 1:16 PM
     To:                                         Akiane Gallery
     Subject:                                    https://protect-us.mimecast.com/s/MnmhCOYEX7sEm9xVFEw59b?domain=art-
                                                 soulworks.com



     This is the website I thought was official for Akiane prints/paintings.

     After talking to you it seems confusing for the regular client.

     Hope this helps.


     The "Heaven is for Real" Painting of Jesus Story by Akiane ...
     art-soulworks.com › pages › heaven-is-for-real-painting

1.
2.




     JOEL WORSFOLD
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     MANAGING PARTNER, WEALTH ADVISOR
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                                                                                  1
